        Case 1:17-cv-00890-LAP Document 134 Filed 03/17/21 Page 1 of 1




                                 STATE OF NEW YORK
                           OFFICE OF THE ATTORNEY GENERAL
        LETITIA JAMES                                                       JANE M. AZIA
      ATTORNEY GENERAL                                                      BUREAU CHIEF
                                                                   BUREAU OF CONSUMER FRAUDS & PROTECTION


VIA ECF
                                                           March 17, 2021
The Honorable Loretta A. Preska
United States District Judge
Southern District of New York
United States Courthouse
500 Pearl Street, Room 2220
New York, NY 10007

Re:     Consumer Financial Protection Bureau and the People of the State of New York v.
        RD Legal Funding, LLC; RD Legal Finance, LLC; RD Legal Funding Partners, LP;
        and Roni Dersovitz
        Case No. 1:17-cv-00890

Dear Judge Preska:

        The New York Attorney General (“NYAG”) and RD Legal Funding, LLC; RD Legal
Finance, LLC; RD Legal Funding Partners, LP; and Roni Dersovitz (collectively, “RD
Legal”) jointly submit this update to the Court regarding the NYAG’s proceedings against
RD Legal in state court. As noted in the parties’ February 18, 2021 letter (ECF No. 121), the
NYAG filed a motion to discontinue without prejudice its proceeding in state court, which
RD Legal opposed. On March 11, 2021, the state court granted the NYAG’s motion. The
state court’s “Decision + Order on Motion” is attached for the Court’s convenience.


                                            Respectfully submitted,

                                            /s/ Jason L. Meizlish
                                            Jason L. Meizlish
                                            Attorney for the State of New York


                                            /s/ Michael D. Roth
                                            Michael D. Roth
                                            Attorney for RD Legal


Cc: Counsel of record via ECF
